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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                            :
 IN RE: FRAGRANCE INDIRECT                  : Civil Action No.: 23-3249 (WJM)(JSA)
 PURCHASER ANTITRUST LITIGATION             :
                                            :
                                            :
                                            :
                                            :
                                            :




   MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
     TO APPOINT INTERIM LEAD COUNSEL, STEERING COMMITTEE, AND
      LIAISON COUNSEL FOR INDIRECT PURCHASER PLAINTIFF CLASS




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        Indirect Purchaser Plaintiffs (“IPPs”) Chautauqua Soap Company and Alexia

 Dahmes (d/b/a Alexia Viola Napa Valley) respectfully submit this memorandum

 supporting their motion under Rule 23(g) of the Federal Rules of Civil Procedure for the

 appointment of Blaine Finley of Cuneo Gilbert & LaDuca, LLP (“CGL”) and Michelle

 Looby of Gustafson Gluek PLLC (“Gustafson Gluek”), as “Interim Class Counsel,” Jon

 Tostrud of Tostrud Law Group, P.C. and Christopher Le of BoiesBattin LLP to an IPP-

 specific “Steering Committee,” and Joseph J. DePalma of Lite DePalma Greenberg &

 Afanador, LLC (“Lite DePalma”) as “Liaison Counsel” (altogether, “Moving Counsel”).

 I.     INTRODUCTION

        Courts appoint lead counsel to achieve efficiency and economy without

 jeopardizing fairness to the parties. MANUAL FOR COMPLEX LITIGATION § 10.221 (4th ed.

 2004). The proposed IPP leadership possesses considerable experience representing

 indirect purchasers in complex antitrust class actions and will vigorously litigate the class’s

 interests. Mr. Finley and Ms. Looby—and their respective firms—have successfully

 litigated numerous cases involving antitrust, securities, environmental, privacy, mass tort,

 consumer protection, and other complex areas of law and procedure. Moving Counsel have

 extensive experience litigating claims asserted by indirect purchasers and possess the

 resources necessary to vigorously prosecute this action and protect the class’s interests.

 Moving Counsel’s experience makes them “best able to represent” the interests of the

 putative class. See Fed. R. Civ. P. 23(g). Moving Counsel respectfully request they be

 appointed Interim Co-Lead counsel for the IPPs.




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 II.    BACKGROUND

        Defendants are the world’s largest manufacturers of fragrance ingredients and

 compounds. In March 2023, competition authorities in the United States, Switzerland,

 United Kingdom, and European Union announced they were investigating Defendants for

 anticompetitive conduct with respect to fragrances and fragrance ingredients. Since those

 announcements, indirect purchasers have filed two class action complaints in this District

 against Defendants, asserting antitrust claims on behalf of a class of indirect purchasers of

 fragrances and fragrance ingredients. On June 16, 2023, Chautauqua Soap Company filed

 the first IPP complaint. Case No. 2:23-CV-03249, ECF No. 1. Alexia Dahmes (d/b/a Alexia

 Viola Napa Valley) filed the second IPP complaint June 20, 2023. Case No. 2:23-CV-

 03547, ECF No. 1.

        Among the early tasks that will be aided by appointment of Interim Counsel are the

 filing of a consolidated IPP complaint, defending that complaint against Defendants’

 anticipated motions to dismiss, and negotiating pre-trial orders, such as a protective order

 and ESI protocol. Later on, IPP Interim Class Counsel will conduct fact and expert

 discovery, move for class certification, seek or defend against summary judgment, and try

 the case. All the while, Interim Class Counsel will be responsible for any potential

 settlements with one or more Defendants.

        The preceding tasks will benefit from this leadership structure, and both the Court

 and Defendants will benefit from knowing one set of lawyers will represent all the Indirect

 Purchaser Plaintiffs and the putative class. Accordingly, counsel engaged in private




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 ordering, as encouraged by the Manual for Complex Litigation as discussed below, and

 reached a consensus view regarding the proposed leadership structure.

 III.   ARGUMENT

        Federal Rule of Civil Procedure 23(g)(3) permits the Court “may designate interim

 counsel to act on behalf of a putative class before determining whether to certify the class.”

 “[D]esignation of interim counsel clarifies responsibility for protecting the interests of the

 class during precertification activities ....” MANUAL § 21.11 (4th ed. 2004). When

 appointing interim class counsel, courts generally look to the same factors used in

 determining the adequacy of class counsel under Rule 23(g)(1)(A). See In re Air Cargo

 Shipping, 240 F.R.D. 56, 57 (E.D.N.Y. 2006). Rule 23 provides that the Court must

 consider:

               (i) the work counsel has done in identifying or investigating potential
               claims in the action; (ii) counsel’s experience in handling class
               actions, other complex litigation, and the types of claims asserted in
               the action; (iii) counsel’s knowledge of the applicable law; and (iv)
               the resources counsel will commit to representing the class.

 Fed. R. Civ. P. 23(g)(1)(A).

        No single factor is determinative; all factors must be weighed to determine

 who can best represent the class. Advisory Committee Notes (2003 Amendments).

 The primary goal in appointing leadership in a complex action “is achieving

 efficiency and economy without jeopardizing fairness to the parties.” Manual

 §10.221 (4th ed. 2004). Plaintiffs’ proposed leadership satisfies all these

 requirements, as discussed in more detail below.




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        The Court may also adopt “special procedures for coordination of counsel early in

 the litigation.” MANUAL § 10.22 (4th ed. 2004). The central goal in doing so is to achieve

 “efficiency and economy without jeopardizing fairness to the parties.” Id. § 10.221. It also

 helps “avoid what otherwise might well become chaotic.” In re Zyprexa Prods. Liab. Litig.,

 594 F.3d 113, 130 (2d Cir. 2010) (noting the establishment of a second plaintiffs’ steering

 committee mid-case). In addition to lead counsel, a district court may appoint liaison

 counsel or committees of counsel. Id. “Committees of counsel,” or “steering committees,

 coordinating committees, management committees, discovery committees, or trial teams”

 may be assigned to assist lead counsel with preparing briefs, conducting portions of the

 discovery, or other assigned tasks. Id.

        A.     Appointing Interim Class Counsel for IPPs Is Appropriate and
               Necessary at This Time.

        The Court previously denied a direct purchaser plaintiff’s request to appoint interim

 class counsel because such appointment was “unnecessary” at that time due to absence of

 “overlapping, duplicative or competing suits.” Case No. 2:23-cv-02174, ECF No. 13. The

 Court noted that “[s]hould concerns listed in the Manual for Complex Litigation arise

 before this Court has certified a class, counsel may renew their request.” Id. at 2. Since

 then, IPPs have filed two class action complaints on behalf of the same putative indirect

 purchaser class pending in this Court. These IPP complaints are in addition to the numerous

 complaints that have been filed by separate groups of direct purchaser plaintiffs.

        Although under the organization of proposed leadership group, counsel for Plaintiffs

 have been working cooperatively to date to advance this litigation in an efficient way,



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  “appointment of interim class counsel at this time will ensure continued cooperation

  amongst said counsel throughout the pre-certification process, which will serve to protect

  the interests of the putative class during that time.” Beture v. Samsung Elecs. Am., Inc., No.

  CV 17-5757 (SRC), 2018 WL 3159875, at *1 (D.N.J. Mar. 27, 2018). Appointing Interim

  IPP Class Counsel is appropriate and necessary to prevent inefficiencies and ensure the

  counsel for the putative indirect purchaser class speak with a unified voice.

         B.     The Proposed IPP Leadership Structure Is the Product of Cooperative,
                Private Ordering.

         The proposed interim leadership structure is the product of private ordering, which

  is a common means of selecting class counsel, and which is encouraged in the organization

  of class counsel. See MANUAL § 21.272 (4th ed. 2004) (“The lawyers agree who should be

  lead class counsel and the court approves the selection after a review to ensure that the

  counsel selected is adequate to represent the class under Rule 23(g).”); §10.22 (“In some

  cases the attorneys coordinate their activities without the court’s assistance, and such

  efforts should be encouraged.”). This application reflects the considered consensus of all

  counsel for Plaintiffs in the two related IPP class action complaints.

         IPPs allege an anticompetitive conspiracy against the four largest fragrance

  manufacturers in the world (which included naming defendants as multiple separate

  business entities for each), many of which are headquartered in foreign countries.

  Defendants have retained experienced and capable antitrust counsel backed by top defense

  firms who will vigorously defend the case at every stage. Given the size and complexity of

  this matter, to best represent the interest of the putative indirect purchaser class, IPPs



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  believe a two-firm interim co-lead counsel structure along with a two-firm IPP-specific

  steering committee and liaison counsel is warranted. Indirect purchaser actions, such as

  this one, require not only proving the antitrust conspiracy and class issues, but also pass-

  through of the overcharge from the direct to indirect purchasers. Such pass-through

  discovery typically requires extensive third-party discovery, which will benefit from the

  proposed leadership structure with co-lead counsel supported by an IPP-specific steering

  committee. To that end, IPPs’ counsel worked diligently to reach agreement on a leadership

  structure that will allow for the efficient utilization of all of the various talents and

  resources they can bring to bear. Courts routinely appoint multi-firm structures, particularly

  in complex cases where the firms had engaged in extensive private ordering, as here. In re

  Lidoderm Antitrust Litig., No. 14-md-02521-WHO, 2017 WL 679367, at *27 (N.D. Cal.

  Feb. 21, 2017) (three co-lead counsel, liaison counsel, and five-firm executive committee);

  In re Nat’l Football Leagues Sunday Ticket Antitrust Litig., No. ML 15-02668-BRO, 2016

  WL 6693146, at *4 (C.D. Cal. May 23, 2016) (four co-lead counsel, five committee

  members); and Ehler v. IPEX, Inc., No. 08-cv-02220-CMA-BNB, 2009 WL 1392075, at

  *2 (D. Colo. May 15, 2009) (five co-lead counsel).

         C.     The Proposed Leadership Group Have Conducted Significant Work
                Investigating Potential Claims and Advancing the Litigation.

         Moving Counsel invested significant time and resources into this litigation, before

  drafting and filing the complaints in the IPP actions, including, among other things:

  conducting an investigation before drafting and filing the complaints in the IPP actions.

  Such investigation included, among other things: investigation of the fragrances market;



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  analyzing the defendants’ fragrance products, including their chemical composition;

  analyzing the market structure and how such goods flow to the proposed indirect purchaser

  class; reviewing and analyzing defendants’ public disclosures and statements; and

  analyzing and monitoring of the on-going government investigations. Since filing, Moving

  Counsel served a complaint on all domestic defendants; have taken steps toward initiating

  Hague service on the foreign defendants; coordinated with other IPP counsel when they

  filed a new complaint; created an expense fund for litigation costs; and consulted with

  experts who will be necessary for both class certification and merits issues in this litigation.

  Moving Counsel are committed to efficiently running this litigation and to that end have

  created a time and expense protocol, which includes caps for certain tasks such as

  document review and are amenable to providing the Court with in camera submission of

  time records whenever the Court would like. Further, consistent with Local Rule of Civil

  Procedure 7.1.1, Moving Counsel represent that their case is not being underwritten by

  litigation funders, and therefore, they are not beholden to any outside interest.

         As encouraged by the MANUAL FOR COMPLEX LITIGATION §10.22 (4th ed. 2004),

  the proposed leadership group also coordinated to move the case forward, including by: (1)

  continuing investigating the fragrance industry and following the on-going regulatory

  investigations; (2) organizing and leading conferences among plaintiffs’ counsel regarding

  case management; and (3) drafting a consolidated IPP complaint. These efforts weigh

  strongly in favor of this application.




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         D.     The Proposed Leadership Group Is Experienced, Knowledgeable,
                and Will Commit the Resources Necessary to Representing the
                Class.

         An applicant’s experience and knowledge of the subject matter of a class action

  lawsuit is often the determining factor in lead counsel appointments. See, e.g., In re Crude

  Oil Commodity Future Litig., 2012 WL 569195, at * 2 (S.D.N.Y. February 14, 2012); see

  also Hodges v. Bon Secours Health System, 2016 WL 4447047 at * 2 (D. Md. Aug. 24,

  2016) (appointing as co-lead counsel two firms that “have the most experience litigating

  this complicated issue . . .”); see In re Insulin Pricing Litig., 317-cv-699 (BRM) (LHG),

  2020 WL 831552 (D.N.J. Feb. 20, 2020); see Galicki v. New Jersey, CIV.A. 14-169 JLL,

  2014 WL 4979499 (D.N.J. Oct. 6, 2014). Ultimately, the court’s task in deciding these

  motions is “to protect the interests of the plaintiffs, not their lawyers.” In re Payment Card

  Interchange Fee & Merch. Disc. Antitrust Litig., 2006 WL 2038650, at *4 (E.D.N.Y. Feb.

  24, 2006). The Court must appoint the “applicant ‘best able to represent the interests of the

  class.’” In re Bank of Am. Corp. Sec., Derivative & ERISA Litig., 258 F.R.D. 260, 272

  (S.D.N.Y. 2009) (quoting Fed. R. Civ. P. 23(g)(2)).

         Moving Counsels’ antitrust experience—and particularly the experience

  representing indirect purchaser plaintiff classes like the IPPs—makes them well-suited to

  serve as Interim Co-Lead Counsel.

                1.     Blaine Finley and Cuneo Gilbert & LaDuca, LLP

         Mr. Finley and his law firm possess deep antitrust litigation experience. CGL has

  successfully led multidistrict litigation and demonstrated the ability to organize and

  manage large litigation cooperatively with counsel for all involved parties. Other federal

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  courts have recognized as much by appointing CGL attorneys to leadership positions in

  other MDLs and class actions.

           Mr. Finley and his firm serve as co-lead counsel and liaison counsel for a certified

  class of Commercial and Institutional Indirect Purchaser Plaintiffs in In re Pork Antitrust

  Litig., MDL No. 2998 (D. Minn.). CGL’s experience in Pork Antitrust is directly applicable

  to the claims and issues present for the IPP class in this litigation. Mr. Finley recently

  argued his group’s successful motion for class certification on behalf of a class of

  commercial indirect purchasers in the matter. See In re Pork Antitrust Litig., No. CV 18-

  1776 (JRT/JFD), 2023 WL 2696497 (D. Minn. Mar. 29, 2023). Mr. Finley has also been

  appointed as Settlement Class Counsel for the commercial indirect purchasers in In re

  Turkey Antitrust Litigation. See ECF No. 196, Case No. 1:20-cv-02295 (N.D. Ill. July 28,

  2021).

           CGL also serves as lead counsel for a certified class of commercial indirect

  purchasers in In re Packaged Seafood Products Antitrust Litigation, MDL No. 2670 (S.D.

  Cal.). Mr. Finley worked extensively in litigating the commercial indirect purchasers’

  motion for class certification and corresponding expert witness testimony. The district

  court in Packaged Seafood issued an order granting a first-of-its-kind certification of a

  class of commercial indirect purchasers, which was ultimately affirmed on appeal by the

  Ninth Circuit sitting en banc. See Olean Wholesale Grocery Coop., Inc. v. Bumble Bee

  Foods LLC, 31 F.4th 651, 664 (9th Cir.), cert. denied sub nom. StarKist Co. v. Olean

  Wholesale Grocery Coop., Inc., On Behalf of Itself & All Others Similarly Situated, 214 L.

  Ed. 2d 233, 143 S. Ct. 424 (2022).

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         CGL has served as interim co-lead counsel for a class composed of automobile

  dealerships in In re Automotive Parts Antitrust Litigation, 12-md-02311 (E.D. Mich.),

  which arose from the largest antitrust conspiracy in history. In that litigation, CGL

  represented dozens of named representative automobile dealerships, representing classes

  of purchasers in 30 jurisdictions, alleging a more than decade-long conspiracy, by over 70

  defendant families, to fix the prices of more than 45 different automotive parts, found in a

  variety of American, Japanese, and German vehicles. Under the leadership of CGL and co-

  lead counsel, automobile dealership plaintiffs and class members have recovered over $400

  million in settlements.

         CGL leads other antitrust actions on behalf of commercial indirect purchasers,

  including In re Generic Pharmaceuticals Pricing Antitrust Litig., MDL No. 2724 (E.D.

  Pa.) (representing a putative class of indirect purchaser pharmacies bringing indirect

  purchaser actions against drug manufacturers). CGL has achieved success for clients in a

  wide range of class actions and complex litigation, for example by working to recover

  hundreds of millions of dollars for homeowners with defective construction materials.1 See

  also CGL’s firm resume attached as Exhibit 1 to the Declaration of Joseph J. DePalma

  Declaration dated August 11, 2023 (hereinafter “DePalma Declaration”).

                2.     Michelle Looby and Gustafson Gluek PLLC

         Gustafon Gluek’s practice is focused almost exclusively on plaintiff-side complex

  class actions cases, with an emphasis on antitrust litigation. Since its founding in 2003,


  1
   In re Certainteed Corporation Roofing Shingles Products Liability Litigation, MDL 1817
  (E.D. Pa.).

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  Gustafson Gluek has worked with and opposed some of the nation’s largest companies and

  law firms, obtaining multi-million-dollar victories and critical injunctive relief for millions

  of class members. See, e.g., In re Syngenta Litig., No. 27-CV-15-3785 (Minn. Dist. Ct.)

  (MN) (MDL 2591) (co-lead counsel in state court action representing a class of Minnesota

  corn farmers and one of four counsel selected as settlement counsel resulting in a proposed

  settlement of $1.51 billion); Precision Associates v. Panalpina World Transp. (Holding)

  Ltd., No. 08-CV-42 JG VVP (E.D.N.Y.) (co-lead counsel in international antitrust class

  action recovering over $400 million for the class); In Re: Medtronic, Inc., Sprint Fidelis

  Leads Prods. Liab. Litig., MDL No. 1905 (D. Minn.) (as sole lead counsel, negotiated $268

  million settlement on behalf of over 14,000 individual plaintiffs). Gustafson Gluek also has

  extensive experience representing indirect purchasers in antitrust class actions, including

  currently serving as Co-Lead Counsel representing a class of commercial indirect

  purchasers in In re Broiler Chicken Antitrust Litig. (N.D. Illinois) and a class of consumer

  indirect purchasers in In re Pork Antitrust Litig (D. Minn.).

         Ms. Looby has been appointed Co-Lead Counsel in multiple antitrust class actions,

  including: In re Interior Molded Doors Antitrust Litig. (E.D.V.A.), In re DPP Beef

  Antitrust Litig., No. 22-md-03031 (D. Minn.), and In re Surescripts Antitrust Litig., No.

  19-cv-06627 (N.D. Illinois), in addition to having served in leadership roles in multiple

  others. Ms. Looby has been nationally recognized for her antitrust work receiving the

  American Antitrust Institute’s (“AAI”) award for Outstanding Antitrust Litigation

  Achievement by a Young Lawyer in 2015, AAI’s award for Outstanding Antitrust

  Litigation Achievement in Private Law Practice in 2022, and being named a Minnesota

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  Attorney of the Year in 2022 (along with Mr. Stewart) for their work on a novel antitrust

  case that led to a settlement securing a spot on the roster for the youngest player in National

  Women’s Soccer League history at the time. In addition, she has been selected by Super

  Lawyers as a Minnesota “Super Lawyer” from 2021-2023 and a “Rising Star” from 2014-

  2020.

          In addition, Daniel Hedlund and Dennis Stewart will also be part of the team leading

  this case. Mr. Hedlund co-chairs the firm’s antitrust group with Ms. Looby, has served as

  co-lead counsel in numerous class actions, and been recognized both nationally and locally

  as a top antitrust attorney. Mr. Hedlund is also very active in the Federal Bar Association

  having recently served as the President for the Minnesota Chapter and Co-Vice President

  for the Eighth Circuit. He is a frequent speaker on antitrust issues and has testified multiple

  times before the Minnesota legislature on competition law. Mr. Stewart brings more than

  three decades of antitrust and trial experience to this case. After serving as a trial attorney

  in the Antitrust Division of the United States Department of Justice where he participated

  in investigations and trials involving criminal antitrust violations, he went on to lead

  numerous civil antitrust and other complex class action lawsuits, including through trial.

  He is currently serving in the leadership in In re Payment Card Interchanged Fee and

  Merchant Discount Antitrust Litig. (E.D.N.Y.), where plaintiffs reached settlements

  totaling more than $6 billion.

          Gustafson Gluek has the necessary experience and resources needed to successfully

  lead this complex class action case. See also Gustafson Gluek’s firm resume attached as

  Exhibit 2 to the DePalma Declaration.

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                3.     Jon Tostrud and Tostrud Law Group, PC

         Tostrud Law Group, P.C. is experienced in class and collective action litigation,

  with co-founding partner Jon Tostrud possessing 24 years of experience in the field. TLG

  has been appointed lead counsel in Small v. UMC, 2:13-cv-00298 APG-PAL (D. Nev.).

  TLG currently serves on the Plaintiffs’ Steering Committee in In re Generic

  Pharmaceuticals Pricing Antitrust Litig., MDL No. 2724 (E.D. Pa.). Mr. Tostrud served

  as Co-Lead Counsel for a class of taxpayers residing in the City of Los Angeles who paid

  taxes for gas services that were improperly collected by the City. Engquist, et al. v. City of

  Los Angeles, No. BC591331, Superior Court of California, County of Los Angeles

  (negotiated $32.5 million settlement on behalf of class). TLG has also worked with a

  variety of other firms in prosecuting In re Lithium-Ion Batteries Antitrust Litig., MDL No.

  2420 (N.D. Cal.). TLG also serves on the Plaintiffs’ Steering Committee in In Re Pork

  Antitrust Litig., MDL No. 2998 (D. Minn.) and In re Cattle and Beef Antitrust Litig., MDL

  No. 1319 (D. Minn.). See also Tostrud Law Group’s firm resume attached as Exhibit 3 to

  the DePalma Declaration.

                4.     Chris Le and BoiesBattin LLP

         Since its founding in 1995, BoiesBattin LLP has represented classes of plaintiffs in

  some of the largest antitrust and consumer protection cases. The firm has helped

  successfully recover over a billion dollars for class members across a broad variety of

  industries including: healthcare, food, vitamins, electronic components, and insurance

  products.




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         Mr. Le has been with BoiesBattin for over 15 years. During that time, Mr. Le and

  his law firm have served in leadership positions in numerous different complex cases,

  including In re Dynamic Random Access Memory (DRAM) Antitrust Litig., MDL No.

  1486; the Northwestern Mutual Life Insurance Company annuity litigation (LaPlant v.

  Northwestern Mutual Life Insurance Co., No. 11-00910 (E. D. Wis.); In Re: Cathode Ray

  Tube (CRT) Antitrust Litig., MDL No. 1917; In re Vitamin C Antitrust Litig., MDL No.

  1738; In Re: Lithium-Ion Batteries Antitrust Litig., MDL No. 2420; In re Processed Egg

  Products Antitrust Litig., MDL No. 2002; and In Re TFT-LCD (Flat Panel) Antitrust

  Litig., MDL No. 1827. See also BoiesBattin’s firm resume attached as Exhibit 4 to the

  DePalma Declaration.

                5.     Joseph J. DePalma and Lite DePalma Greenberg & Afanador,
                       LLC

         Lite DePalma has a vast breadth of experience in many types of class action cases

  involving antitrust, securities, product liability, and consumer fraud. Lite DePalma’s

  Managing Member, Joseph DePalma, has been appointed co-lead counsel in In re LIBOR-

  Based Financial Instruments Antitrust Litigation, Docket No. 1:11-md-02262, served as

  liaison counsel in In re: Ductile Iron Pipe Fittings Antitrust Litigation, Docket No. No. 12-

  711 (AET)(LHG), and currently serves as an executive committee member in In re:

  Vascepa Antitrust Litigation Indirect Purchaser Plaintiffs, Docket No. 21-12061

  (ZNQ)(LHG). Mr. DePalma also currently is involved in the following class actions in the

  District of New Jersey: In re: American Medical Collection Agency, Inc. Customer Data

  Security Breach Litigation, Docket No. 19-md-2904 (co-lead counsel), Mendez v. Avis



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  Budget Group, Inc., Docket No. 2:2011-cv-06537 (co-lead counsel, recently settled), and

  BCR Carpentry LLC v. FCA US LLC, 3:21-cv-19364-GC-DEA (liaison counsel).

         Lite DePalma has also served as co-lead counsel, liaison counsel or an executive

  committee member in multiple plaintiff class action antitrust matters, including: In re New

  Jersey Tax Sale Certificates Antitrust Litig., 750 Fed. Appx. 73 (3d Cir. 2018) (affirming

  settlements with nearly 20 defendants worth over $10 million); In re Insurance Brokerage

  Antitrust Litig., MDL No. 1663, No. 04-5184 (FSH) (D.N.J.) (settlements totaling over

  $200 million); In re Liquid Aluminum Sulfate Antitrust Litig., No. 16-md-2687(JLL)(JAD)

  (D.N.J.) (settlements totaling over $65 million); In re: Processed Eggs Products Antitrust

  Litigation, No. 08-md-2002 (E.D. Pa.) (co-lead and liaison counsel); In re: Generic

  Pharmaceutical Pricing Antitrust Litigation, No. 16-md-2724 (E.D. Pa.) (steering

  committee); In re Blue Cross Blue Shield Antitrust Litigation (Subscribers), No. 13-cv-

  20000 (N.D. Ala.) (on appeal, trial plan committee); In re Broiler Chicken Antitrust

  Litigation (Direct Purchasers), No. 18-cv-8637 (N.D. Ill.) (trial team); In re Wawa, Inc.

  Data Breach Litigation, No. 19-cv-6019 (E.D. Pa.) (liaison counsel).             See also

  LiteDePalma’s firm resume attached as Exhibit 5 to the DePalma Declaration.

         E.    Moving Counsel Have Sufficient Resources to Advance the Litigation
               in a Timely Manner.

         Moving Counsel will commit the resources needed for this litigation during the

  entirety of its duration. Moving Counsel have enough attorneys supported by highly

  capable legal support staff to efficiently advance the IPPs’ claims. Moving Counsel are

  well-established firms with the financial wherewithal to support the litigation. They have



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  led numerous other antitrust class actions, as well as other complex and resource-intensive

  litigations, and are knowledgeable about the resources necessary to adequately litigate this

  type of case. Moving Counsel have more than enough resources to prosecute this action

  and will devote those resources in a manner that best serves the interests of the class

  members.

         F.     IPP Clients and Counsel Support this Motion.

         The Court should also give significant weight to the views of the Chautauqua Soap

  Company, Alexia Dahmes (d/b/a Alexia Viola Napa Valley), and the law firms that

  represent these IPP named plaintiffs. All IPP named plaintiffs support this application and

  the proposed IPP leadership structure. That a “large number[ ] of experienced counsel are

  satisfied to be represented by” Moving Counsel “is some measure of the respect they

  command and the confidence of their peers that they will serve well in the role.” In re Air

  Cargo Shipping Servs. Antitrust Litig., 240 F.R.D. 56, 58 (E.D.N.Y. 2006). See also In re

  Crude Oil Commodity Futures Litig., 2012 WL 569195, at *2 (selecting interim lead

  counsel applicants proposing “leadership structure proposed by plaintiffs in more than two-

  thirds of the related cases in this consolidated action[, because] the Court gives some

  weight to plaintiffs’ ‘self selection’ of class counsel”) (citing In re Rail Freight Fuel

  Surcharge Antitrust Litig., MDL No. 1869, 2008 WL 1883447, at *2 (D.D.C. Apr. 28,

  2008)).




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         G.     The Proposed Leadership Have Long Demonstrated Their Ability to
                Work Cooperatively, Professionally, and Respectfully with Each
                Other.


         The firms and attorneys have a proven track record of their ability and commitment

  to work cooperatively, professionally, and respectfully with each other in large, high-stakes

  antitrust actions. Moving Counsel have worked together productively and recovered

  significant compensation for plaintiffs in other antitrust matters. For example, CGL and

  Gustafson Gluek have worked collaboratively representing different groups of class action

  claimants in In re Pork Antitrust Litig., MDL No. 2998 (D. Minn.) as well as in In re Cattle

  and Beef Antitrust Litig., MDL No. 1319 (D. Minn.).

         H.     The Proposed Leadership Structure for the IPPs Will Promote
                Efficiency.

         Moving Counsel will avoid the tendency to “make work” and will engage the right

  attorneys with the right experience, as needed. Handling the litigation this way provides a

  safeguard against excessive common benefit fee requests. Moving Counsel has already

  developed a time and expense reporting protocol, which would require all timekeeping

  firms to record time concurrently and report that time monthly to lead counsel. The protocol

  allows lead counsel to audit duplicative and administrative time, among other means of

  ensuring all efforts are focused on prosecuting the case in a coordinated fashion. As such,

  the IPP leadership structure proposed in this application will avoid unnecessary

  bureaucracy and duplication of effort. This serves the purpose of the Rule 23 Committee




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  Note, which warns of “the risk of overstaffing or an ungainly counsel structure.”2 Moving

  Counsel have track records of working well together, while working efficiently to achieve

  excellent results for indirect purchaser plaintiffs. They are supported by both named

  plaintiffs and their law firms.

  V.     CONCLUSION

         IPPs respectfully request that the Court enter an order appointing Blaine Finley of

  Cuneo Gilbert & LaDuca, LLP and Michelle Looby of Gustafson Gluek, PLLC as Interim

  Class Co-Counsel, Jon Tostrud of Tostrud Law Group, P.C. and Christopher Le of

  BoiesBattin LLP to an IPP-specific Plaintiff’s Steering Committee, and Joseph J. DePalma

  of Lite DePalma Greenberg & Afanador, LLC as IPP Liaison Counsel.

  Dated: August 11, 2023                   LITE DePALMA GREENBERG
                                           & AFANDOR, LLC

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    The Manual for Complex Litigation also cautions against the appointment of too many
  firms to lead or litigate a matter and that “the number should not be so large as to defeat
  the purpose of making such appointments.” MANUAL FOR COMPLEX LITIGATION § 20.221
  (3d ed. 1995).

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